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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

CHARIF KAZAL, ADAM KAZAL,
TONY KAZAL, and KARL KAZAL,

         Plaintiffs,
v.                                               Case No.: 8:17-cv-2945-T-23AAS

MATTHEW PRICE,

      Defendant.
______________________________________/

                                      ORDER

         Charif Kazal, Adam Kazal, Tony Kazal, and Karl Kazal (collectively, the

“Kazals”) move to compel Matthew Price to provide more complete discovery

responses. (Doc. 28). The court directed the Kazals’ counsel to confer with opposing

counsel pursuant to Local Rule 3.01(g) and supplement the motion with a certification

stating whether or to what extent the parties have resolved the motion. (Doc. 30).

The certification was due by August 8, 2018. Id. To date, no certification has been

filed.

         Accordingly, the Kazals’ Motion to Compel (Doc. 28) is DENIED WITHOUT

PREJUDICE.

         ORDERED in Tampa, Florida, on August 10, 2018.
